                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE

   UNITED STATES OF AMERICA                               )
                                                          )
   v.                                                     )       No. 2:19-CR-14
                                                          )
                                                          )       District Judge Greer
   XIAORONG YOU                                           )
        a/k/a SHANNON YOU                                 )


                                   TRIAL BRIEF OF THE UNITED STATES


          COMES NOW, the United States of America, by and through the United States Attorney

   for the Eastern District of Tennessee, for the purpose of avoiding unnecessary surprise and

   preserving the parties’ and the Court’s time and resources, to notice the defendant and the Court

   as set forth below. The United States is not seeking a ruling from the Court on any of the below

   issues at this time, but provides this notice to assist the Court in ruling during trial on evidentiary

   issues that may be contested.

          1.      Notice of Intent to Offer Self-Authenticating Records

          2.      Notice of Miscellaneous Items

          3.      Notice of Intent to Offer Audio-Video Recordings of Interview of the Defendant
                  that Occurred on February 14, 2019

          4.      Notice of Intent to Offer Transcript of Interview of the Defendant that Occurred
                  on February 14, 2019

          5.      Notice of Intent to Offer Fed. R. Evid. 1006 Summary Chart Depicting Translated
                  WeChat Audio and Text Messages Sent to and from the Defendant

          6.      Notice of Intent to Offer Fed. R. Evid. 1006 Summary Charts Depicting Locations
                  and Time Stamps of More than One Hundred Trade Secret and Confidential Files
                  Found on Electronic Devices Belonging to the Defendant

          7.      Notice of Intent to Use Summary Timeline During Opening Statement and
                                                      1


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                  Witness Testimony and to Admit as Substantive Evidence

          8.      Notice of Intent to Use Demonstrative Aids During Opening Statement and
                  Witness Testimony

          9.      Notice of Intent to Offer Dual Fact-Expert Witness Testimony

                                               NOTICES

          1.      Notice of Intent to Offer Self-Authenticating Records

          Pursuant to F.R.E. 902(11), (13), and (14), the United States hereby notifies the

   defendant of the government’s intent to offer the following records as evidence at trial, copies of

   which have already been furnished to the defendant:

              Account information, emails, and other records from the defendant’s
               xiy2@yahoo.com account with Oath Holdings Inc. (formerly Yahoo Holdings, Inc.).
               A copy of the F.R.E. 902(11) certificate authenticating these records has already been
               provided to the defendant, but is attached again for convenience as Exhibit 1.

              Account information, stored files, access logs, and other records the defendant’s
               X30080 account with Google LLC. Copies of the certificates authenticating these
               records have already been provided to the defendant, but are attached again for
               convenience as Exhibits 2, 3, and 4.

              Certified data copies and forensic images from numerous electronic devices, storage
               media, or files belonging to or used by the defendant. Copies of the certificates
               authenticating these records have already been provided to the defendant, but are
               attached again for convenience as Exhibits 5, 6, and 7.1

          2.      Notice of Miscellaneous Items

          In light of the fact that this case presents a number of unique challenges, the United

   States provides the following additional notices to ensure that the Court is apprised that the

   government is taking all reasonable measures to prepare for trial. For example, without

   limitation, on June 19, the United States provided the defense with a draft copy of the



   1
    The copy of Exhibit 5 attached to this filing has been partially redacted to remove the names of
   private parties. An un-redacted copy has been provided to the defendant.
                                                    2


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   government’s complete trial exhibit list. On June 19, the United States also provided the defense

   with draft copies of nearly all of its trial exhibits (arranged by trial exhibit number), excluding

   material deemed “highly confidential” pursuant to the amended protective order. This “highly

   confidential” material has been and remains available to the defense, and has been inspected by

   the defense, for more than one year. On June 22, the United States sent proposed stipulations to

   the defense to identify uncontested evidentiary issues with the goal of shortening the trial, but

   has received no response. In March, April, May, and June, the government made extensive

   efforts to accommodate the defendant’s many requests to modify the discovery protective order.

           3.      Notice of Intent to Offer Audio-Video Recordings of Interview of the
                   Defendant that Occurred on February 14, 2019

           The United States intends to offer into evidence an audio-video recording of an interview

   of the defendant conducted on February 14, 2019 by two FBI agents. This audio-video

   recording was provided to the defense more than one year ago. The recording is approximately

   two hours long and contains numerous admissions by the defendant regarding the scope of the

   conspiracy and its participants. To preserve the Court’s and the parties’ time and resources, and

   to facilitate comprehension and review by the jury, the United States has created approximately

   45 short segments from the audio-video recording, ranging from approximately 30 seconds’ to a

   few minutes’ duration. One of these 45 short video clips is a 53-second composite of different

   portions of the interview. The remaining 44 short video clips are uninterrupted snippets. These

   45 clips have been produced to the defense. The United States also intends to offer these 45

   video clips as evidence at trial.

           The video is clear and the audio is intelligible throughout substantially all of the

   approximately two-hour interview. It appears as though no substantive comments are

   unintelligible. The United States has received no indication from the defendant inconsistent with
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   the conclusion that the audio-video recording is intelligible and sufficiently comprehensible. At

   any rate, any dispute regarding the intelligibility of the audio-video recording should be

   adjudicated prior to trial so as to avoid a lengthy Robinson hearing regarding a two-hour

   interview during trial, which would waste judicial resources and the jury’s time.

          “It is well settled that the admission of tape recordings at trial rests within the sound

   discretion of the trial court.” United States v. Robinson, 707 F.2d 872, 876 (6th Cir. 1983). It is

   a prerequisite to admission that the tapes be authentic, accurate and trustworthy. Id. To admit a

   recording the court must first determine whether the tapes are “audible and sufficiently

   comprehensible for the jury to consider the contents.” Id. at 876. A recording may be

   admissible even if some portions of it are unintelligible. Id. at 781. Recordings will be deemed

   inadmissible only if the “unintelligible portions are so substantial as to render the recording as a

   whole untrustworthy.” United States v. Scaife, 749 F.2d 338, 345 (6th Cir.1984).

          Fed. R. Evid. 901 provides that “authentication or identification as a condition precedent

   to admissibility is satisfied by evidence sufficient to support a finding that the matter in question

   is what its proponent claims.” Physical evidence is admissible when the possibilities of

   alteration or misidentification “are eliminated, not absolutely, but as matter of reasonable

   probability.” United States v. McFadden, 458 F.2d 440, 441 (6th Cir. 1972). The burden for the

   admission of the tapes rests with the proponent. See, e.g., United States v. Alvarez, 860 F.2d

   801, 807 (7th Cir. 1988) (government offering tapes must establish that they are true, accurate

   and authentic). In so doing, proof must be presented that the item is what it purports to be to

   satisfy the requirements of Fed. R. Evid. 901(a). See, United States v. Lance, 853 F.2d 1177

   (5th Cir. 1988); United States v. Sarro, 742 F.2d 1286, 1293 (11th Cir. 1984).

          Generally speaking this proof includes identifying the speakers and verifying the

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   accuracy of the recording, i.e. that the recording accurately reflects the conversation. It is not

   necessary for a participant of the conversation to testify to the authenticity of the recordings as

   long as the accuracy of the recording is otherwise established. United States v. Lively, 803 F.2d

   1124, 1129 (11th Cir. 1986); United States v. Bright, 630 F.2d 804, 819 (5th Cir. 1980); United

   States v. Fuentes, 563 F.2d 527, 532 (2nd Cir. 1977); United States v. McMillan, 508 F.2d 101,

   104 (8th Cir. 1974).

          Admitting the 44 excerpted video clips presents no additional evidentiary challenges.

   “The admissibility of recordings of . . . or parts there is a matter committed to the sound

   discretion of the trial court.” United States v. Denton, 556 F.2d 811, 815 (6th Cir. 1977)

   (quoting Gorin v. United States, 313 F.2d 641, 652 (1st Cir. 1963).) Similarly, using the

   1 composite video clip is acceptable in part because it will “save[] the Court much time and

   inconvenience. Denton, 552 F.2d at 816

          Here, the Government intends to call one of the FBI Agents who conducted the interview

   with the defendant. He will be able to testify that the original video recording is authentic and

   that he has reviewed (although did not prepare) the 44 excerpted video clips and one composite

   video clip and that they fairly and accurately depict portions of the original video recording. 2

          4.      Notice of Intent to Offer Transcript of Interview of the Defendant that
                  Occurred on February 14, 2019

          Concurrently with this trial motion, the United States has filed a motion for judicial

   determination of the accuracy of the transcript of the recorded interview of the defendant that

   occurred on February 14, 2019. The United States intends to offer this transcript as evidence at



   2
     It is permissible for an eye witness to testify to the contents of a conversation even though a
   recording of the conversation has already been played for the jury. United States v. Branham, 97
   F.3d 835 (6th Cir. 1996).
                                                       5


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   trial or, in the alternative, to use it as a demonstrative aid.

           The Court has discretion to admit a transcript as substantive evidence. United States v.

   Gallagher, 57 Fed.Appx. 622, 625 (6th Cir. 2003) (“The decision to admit into evidence the

   transcript of taped recordings is within the discretion of the court ...”). The Court also has the

   discretion to allow the use of a transcript as a demonstrative aid. United States v. Jacob, 377

   F.3d 573, 581 (6th Cir. 2004). If the Court permits the use of a transcript as a demonstrative aid,

   it is also permissible to allow the jury to use the transcript during deliberations. In particular,

   “[a]s long as the trial court instructs the jury that the tapes and not the transcripts are evidence it

   is not error to allow a jury to have transcripts in deliberations, even if the transcripts were not

   admitted into evidence.” United States v. Scarborough, 43 F.3d 1021, 1024-25 (6th Cir. 1994)

   (quoting United States v. Puerta Restrepo, 814 F.2d 1236, 1242 (7th Cir.1987)). “Use of

   transcripts not in evidence is permissible where the tape is in evidence, the defendant has not

   questioned the accuracy of the transcript, and the defendant has shown no prejudice.”

   Scarborough 43 F.3d at 1024-25 (quoting United States v. Taghipour, 964 F.2d 908, 910 (9th

   Cir. 1992)). If the defendant objects to the accuracy of the transcript, but does not point to any

   specific discrepancy or offer an alternative translation, it is not an abuse of discretion to use the

   transcript. United States v. Garcia, 20 F.3d 670, 673 (6th Cir. 1994), United States v. Liddell, 64

   Fed.Appx. 958, 963 (6th Cir. 2003).

           The United States understands that this Court’s regular practice is to permit the use of a

   transcript as a demonstrative aid but to exclude it from evidence. However, this case presents

   unique facts that require different treatment, for a few reasons. First, the Court should admit the

   transcript in addition to the audio-video recording of the February 14, 2019 interview because

   the audio-video recording by itself may constitute a cumbersome item of evidence for the jury to

                                                       6


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   review during deliberations. The audio-video recording is approximately two-hours long (the

   transcript is approximately 124 pages) and, as will be demonstrated during the trial, replete with

   dozens of relevant and incriminating admissions by the defendant throughout the duration of the

   recording. Second, various complex issues are addressed multiple times in noncontiguous

   fashion throughout the interview, as the interviewing agent and the defendant shift back and

   forth between topics. But, the audio-video recording does not include any mechanism for

   locating these highly relevant admissions.3 Conversely, if the transcript were to be admitted in

   addition to the audio-video recording, the jury will have a substantially easier time locating

   questions and answers they wish to hear on the audio-video recording. Third, the defendant has

   a significant accent, and some jurors may have trouble understanding the defendant’s spoken

   words. Reading will facilitate their ability to follow along as the defendant speaks. When

   reading, it is apparent that the transcript corresponds to the defendant’s spoken words.

          As described above in Section 4, the United States has prepared approximately 45 video

   clips that it will seek to admit into evidence along with the entire interview recording. Admitting

   both the entire recording and clips from that recording will facilitate the jury’s understanding of

   the evidence. Similarly, presenting the transcript to the jury while the video clips are played

   during trial will facilitate the jury’s understanding. However, to avoid the time-consuming and

   cumbersome process of requiring every juror to turn to the relevant page and line number of the

   transcript (which is 124 pages long) before the government plays each video clip, the better

   approach would be to caption each video clip with the verbatim transcript language. This will

   also minimize the need for the jurors to handle paper exhibits. Each of these video clips (with



   3
     A portion, but not all, of this difficulty would be remedied by the United States’ excerpted
   clips, if admitted into evidence by the Court.
                                                       7


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   the captioning) have already been provided to the defense as part of the United States’ exhibit

   production, and two were used successfully during the depositions of the two Italian witnesses

   on July 3, 2020. A screenshot of one of those video clips with the captioned transcript language

   is attached hereto as Exhibit 8.4,5

           5.      Notice of Intent to Offer Fed. R. Evid. 1006 Summary Chart Depicting
                   Translated WeChat Audio and Text Messages Sent to and from the
                   Defendant

           The United States intends to offer a Fed. R. Evid. 1006 summary chart containing

   WeChat audio and text messages substantially in the form set forth in document 158 – the exhibit

   to the United States’ 801(d)(2)(E) notice. This summary chart (the “WeChat Summary Chart”)

   contains approximately 612 messages sent to and from the defendant in furtherance of the

   conspiracy. All of these messages were extracted from several of the defendant’s electronic

   devices and will be authenticated as such by the testimony of FBI Forensic Analyst Pasquale

   Rinaldi. Further, all of the messages originally written or spoken in Mandarin were translated by

   or at the direction of FBI linguist James Churchill, whose testimony is expected to authenticate

   the translations. The underlying Mandarin text and audio files have been made provided to the

   defense and are available to be offered into evidence. Indeed, the WeChat Summary Chart

   contains a column depicting the underlying Mandarin text that was translated to English (in the

   case of written text messages) and the underlying Mandarin audio files are expected to be


   4
     Under either approach, the entire recorded interview would be admitted into evidence. Using
   video clips and captioning saves time by avoiding irrelevant portions of the video: for example,
   the first 9 minutes of the video involve long periods of silence and trivial banter, while the
   parties wait for the defendant’s water to arrive. Similarly, much (but not all) of the last 20
   minutes or so of the video involve an irrelevant discussion during which agents (at the
   defendant’s request) attempt to locate the defendant’s personal medications.
   5
    The copy of Exhibit 8 attached to this filing has been partially redacted to remove the names of
   private parties. An un-redacted copy has been provided to the defendant.
                                                    8


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   admitted into evidence. All formal translations of these messages have also been provided to the

   defense.

          The WeChat Summary Chart does not, however, contain all messages found on the

   defendant’s electronic devices. The exclusion of messages, however, will not prejudice the

   defendant. Over 1,000 messages were excluded for one or more reasons. First, the translation

   process is time consuming and expensive and the United States does not possess the resources to

   produce verified translations of all of these messages from Mandarin to English or to review all

   of them were they all to be translated. Second, the United States attempted to identify what the

   government believes to be the messages most relevant to the charges in the Indictment. These

   messages were translated and included in the WeChat Summary Chart. To include additional

   untranslated messages would serve no purpose other than to confuse the jury and waste time.

   Moreover, the jury has no effective means to review these untranslated messages in Court.

   Third, the defense has had access to all the underlying messages since shortly after the

   indictment in this case was returned. In addition, the United States began providing draft copies

   of the WeChat Summary Chart to the defense months ago. If the defense believes that additional

   messages are relevant, they are not barred from using those messages provided they otherwise

   comply with the Federal Rules of Evidence.

          Fed. R. Evid. 1006 permits the use of a summary or chart to “prove the content of

   voluminous writing, recordings, or photographs that cannot be conveniently examined in court.”

   “[T]he established tradition” in the Sixth Circuit is to allow “the introduction of summary

   evidence to aid the jury in the examination of testimony or documents in evidence.” United

   States v. Paulino, 935 F.2d 739, 753 (6th Cir. 1991). To use a summary chart, the proponent

   must establish first that the summarized underlying documents are voluminous, second that the

                                                    9


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 underlying documents were “available for examination and or copying,” third that the underlying

 documents are admissible in evidence, and fourth that the summary itself is “accurate and non-

 prejudicial.” United States v. Bray, 139 F.3d 1104, 1109-10 (6th Cir. 1998).

        For the foregoing reasons, the WeChat Summary Chart qualifies as a summary chart

 under Fed. R. Evid. 1006. This conclusion applies even though the original messages were not

 in English. “[I]t is proper in cases involving transcript of [foreign] language phone calls for

 those transcript to be offered into evidence.” United States v. Stover, 474 F.3d 904, 913 (6th Cir.

 2007). See also United States v. Morales-Madera, 352 F.3d 1, 8-9 (1st Cir. 2003) (“[P]arties

 using audio recordings in other languages should ensure that the English transcripts become part

 of the record by introducing them in evidence. The English transcripts should be marked and

 admitted in evidence in addition to the [recordings] themselves.”);6 United States v. Kifwa, 868

 F.3d 55, 60 (1st Cir. 2017) (“Foreign-language recordings, however, are treated differently. For

 commonsense reasons, playing foreign language tapes endlessly to an uncomprehending jury is

 not required. . . . In such circumstances, transcripts containing translations of such recordings

 may be admitted into evidence as long as they are reliable and properly authenticated.”) (Internal

 quotations omitted.)

        6. Notice of Intent to Offer Fed. R. Evid. 1006 Summary Charts Depicting
           Locations and Time Stamps of More than One Hundred Trade Secret and
           Confidential Files Found on Electronic Devices Belonging to the Defendant

        The United States will offer as evidence summary charts under Fed. R. Evid. 1006

 substantially in the form of the document attached as Exhibits 9, 10, 11, and 12.7 Exhibit 9 is


 6
  The First Circuit noted that “the government concede[d] that it committed error in failing to
 enter the English transcript in the record.” Id. at 709.
 7
  The column containing file names has been partially-redacted to protect the value of these trade
 secrets and confidential files. An un-redacted copy of Exhibit 9 has been provided to the
                                                 10


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 summary chart prepared by Pasquale Rinaldi, a Senior Digital Forensic Examiner with the FBI,

 based upon his review of numerous electronic devices (and digital “images” of electronic

 devices) obtained during the investigation of this case, including laptop computers, external hard

 drives, iPhones, a Google Drive account, and others. Exhibits 10, 11, and 12 contain subsets of

 data from Exhibit 9, listing only certain subsets of files and devices with data for those files, for

 the jury’s ease with regard to those files.

         All of these electronic devices were owned and/or possessed and used by the defendant

 during the conspiracy. These charts summarize the dates and times that over one hundred trade

 secret and confidential files (and other files discovered during the investigation) were first

 created or modified on the defendant’s electronic devices, as determined by Mr. Rinaldi’s

 examination. The underlying records and electronic devices summarized by these charts are

 clearly identified on the chart, and the defendant has been provided copies of (and/or has had

 access to) all underlying records and the electronic devices.

        These file creation and modification dates are integral to the government’s case and to the

 jury’s understanding of the significance of numerous dates and times (down to the minute)

 during the conspiracy. For example, Exhibits 9 and 10 depict the exact times late in the evening

 of August 29, 2017, when dozens of trade secret files were copied to the defendant’s external

 hard drive. These facts depicted on the summary charts will help the jury understand a separate

 record from a Coca-Cola witness that shows that the defendant transferred an encrypted file from

 Coca-Cola’s computer network within minutes of the time that confidential files were copied to

 the defendant’s external hard drive, as depicted on the summary charts. Similarly, Exhibits 9




 defense, and un-redacted copies of Exhibits 10, 11, and 12 will be provided to the defense
 shortly.
                                                11


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 and 11 depict the exact time window during which hundreds of confidential Eastman files were

 copied to the defendant’s Google Drive account (during a short interval in the middle of the day

 on June 21, 2018). Separately, the United States will prove the events that transpired in the

 minutes leading up to and following this highly-incriminating file transfer, revealing the

 defendant’s motive and intent in the process. The jury’s ability to understand the significance of

 this narrow time window will be assisted by summary charts depicting which files were moved

 onto which devices and when.

        Moreover, the underlying physical electronic devices will be admitted as evidence in the

 case and have been made available to the defense for inspection. However, as a practical matter

 (as with the Mandarin audio and text messages described above), these electronic devices cannot

 be “conveniently examined in court” nor by the jury during deliberations for two reasons. First,

 examination in open court of these devices would require days of testimony from one witness

 and would perplex the jury through numerous and repeated references to devices, file names, file

 locations, and time stamps. Second, even if the jury were able to access the contents of the

 electronic devices during deliberations, the jury would still be required to spend an inordinate

 amount of time locating the several hundred relevant files among the tens of thousands of

 irrelevant computer operating and system files. This is not realistic. The summary charts would

 avoid both of these problems and would assist the jury in deciding material issues in this case.

 Lastly, Exhibit 9 has been disclosed to the defense and will be the subject of testimony by the

 expert witness who prepared it (FBI Senior Forensic Examiner Pasquale Rinaldi); un-redacted

 copies of Exhibits 10-12 will be disclosed to the defense shortly, and contain only subsets of the

 information in Exhibit 9. While their contents are not reasonably subject to dispute, the defense

 will have an ample opportunity cross examine Mr. Rinaldi on the exhibit.

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        7. Notice of Intent to Use Summary Timeline During Opening Statement and
           Witness Testimony and to Admit as Substantive Evidence

        Attached as Exhibit 13 is a timeline summarizing many events relevant to this case (the

 “Summary Timeline”).8 The United States intends to use the Summary Timeline in its opening

 statement and during the testimony of many witnesses. Each item depicted on the Summary

 Timeline is expected to be the subject of eye witness testimony and/or of documents or other

 records expected to be admitted into evidence. For example, to the left of each entry in the

 Summary Timeline is the exhibit number(s) that proves all or a portion of the point made in the

 corresponding chronological entry. All of the documents that are identified in the Summary

 Timeline have been provided to the defense in discovery. Moreover, all of the marked trial

 exhibits (arranged by trial exhibit number) have been provided to the defense in the past few

 weeks in preparation for trial. Finally, the Summary Timeline is accurate and non-prejudicial in

 that it “summarizes the information contained in the underlying documents accurately, correctly,

 and in a nonmisleading manner.” Bray, 193 F.3d at 1110.

        The Summary Timeline was prepared by numerous people, including attorneys involved

 in the case. The government will seek to admit it through a Special Agent with the FBI, who has

 eye-witness or investigative knowledge of each item depicted on the Summary Timeline and

 who can verify the accuracy of the summary chart. As such, he will be available for cross

 examination. See United States v. Scales, 594 F.2d 558, 563 (6th Cir. 1979) (“In order to

 authenticate [the composite exhibit] it was necessary only that Agent Tosi had properly

 catalogued the exhibits previously admitted and had knowledge of the analysis of the union

 records referred to in the exhibit.”). Before the United States seeks to admit the Summary


 8
  Exhibit 13 attached to this filing is partially redacted to remove the names of the victim and
 witness companies. An un-redacted copy has been provided to the defense.
                                                    13


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 Timeline, however, it seeks approval to use it in its opening statement and to address one or

 more of the entries on the Summary Timeline in the testimony of other witnesses who have eye-

 witness knowledge of parts of it.

         The Summary Timeline will aid the jury in its evaluation of the complex evidence in this

 case. The Summary Timeline will help to explain to the jury the significance of important and

 complex facts from a variety of different evidentiary sources. Without it, the jury will be

 confused as to the meaning or relevance of testimony and exhibits expected to be offered into

 evidence. For example, at 11:32 am on June 21, 2018 the defendant accepted an electronic

 calendar invitation for an HR meeting scheduled for 1:00 pm the same day. This evidence is

 significant because in the interim (from 12:26 – 12:40 pm) confidential files belonging to

 Eastman Chemical were uploaded to the defendant’s Google Drive account from the defendant’s

 Eastman-issued laptop. In an interview with the FBI, the defendant admitted that she did this

 because she “sensed something was wrong,” i.e., she sensed she was about to be fired. The jury

 will more easily understand this series of events – all of which will be proved both by

 documentary records and by eyewitness testimony – with the aid of the Summary Timeline. The

 other entries on the Summary Timeline present similar examples.

         The Summary Timeline is admissible as a “secondary-evidence summary.” The Sixth

 Circuit has recognized “secondary-evidence summaries” that are a combination of Rules 611 and

 1006:

                [T]hey are not prepared entirely in compliance with Rule 1006 and
                yet are more than mere pedagogical devices designed to simplify
                and clarify other evidence in the case. These secondary-evidence
                summaries are admitted in evidence not in lieu of the evidence they
                summarize but in addition thereto, because in the judgment of the
                trial court such summaries so accurately and reliably summarize
                complex or difficult evidence that is received in the case as to
                materially assist the jurors in better understanding the evidence. In
                                                 14


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                the unusual instance in which this third form of secondary evidence
                summary is admitted, the jury should be instructed that the summary
                is not independent evidence of its subject matter, and is only as valid
                and reliable as the underlying evidence it summarizes.

 Bray, 139 F.3d at 1112 (citations omitted). The Summary Timeline is should be admitted where

 the court “determine[s] that the government’s exhibits [are] accurate and reliable depictions of

 the admitted evidence [the government] sought to synthesize for the jury.” United States v.

 Kerley, 784 F.3d 327, 341 (6th Cir. 2015) (secondary-evidence summary properly admissible

 notwithstanding defendant’s contention that it “simply reiterated the government’s interpretation

 of the evidence”).

        The Summary Timeline may also be admissible as a summary chart. A district court may

 admit “charts consist[ing] of a compilation of information obtained from telephone records,

 limousine records, surveillances, and tape recordings”. United States v. Williams, 952 F.2d

 1504, 1519 (6th Cir. 1991) (in affirming admission over defendant’s prejudice objection noting

 that “[i]n essence, the charts were a chronology of the significant events that occurred on each of

 those days.”) It is no bar to admission that each of the constituent parts of the Summary

 Timeline consist of admitted evidence. The Sixth Circuit explained:

                Insofar as [the exhibit] contained summaries of other exhibits in
                evidence, appellant contends that Rule 1006 does not apply because
                each document listed could have been, and was, examined at the
                time of its admission. There is no requirement in Rule 1006,
                however, that it be literally impossible to examine the underlying
                records before a summary or chart may be utilized. All that is
                required for the rule to apply is that the underlying “writings” be
                “voluminous” and that in-court examination not be convenient.

 Scales, 594 F.2d at 562.




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        8. Notice of Intent to Use Demonstrative Aids During Opening Statement and
           Testimony

        Set forth in Exhibit 14 is a “can coating” diagram depicting general categories of

 ingredients necessary to create a coating for the interior of a beverage can. The United States

 seeks to use this exhibit as a demonstrative aid in its opening statement and during the testimony

 of several witnesses. The Indictment alleges that the defendant stole technology from seven

 independent companies related to the development of BPA-NI can coatings. Accordingly, the

 United States will have witnesses from each of these companies testify about their respective

 BPA-NI technology. The can coating diagram will aid the jury in understanding the nature of

 these witnesses’ testimony.

        Similarly, the United States seeks to use in its opening statement a video depicting the

 application of BPA-NI coatings to aluminum beverage cans. This video can be authenticated by

 a witness familiar with the can-coating application process who observed creation of the video in

 question. The United States will seek to use this demonstrative video during its opening

 statement and in the testimony of an authenticating witness to help the jury understand the

 process by which BPA-NI coatings are applied to aluminum beverage cans.

        9. Notice of Intent to Offer Dual Fact-Expert Witness Testimony

        In an 11-page letter to the defense dated April 20, 2020, the United States provided

 detailed expert disclosures regarding 12 probable expert witnesses. In that correspondence, the

 United States explained:

                Many of the probable expert witnesses are expected to provide fact
                and opinion testimony. See United States v. Christian, 673 F.3d 702,
                708-9 (6th Cir. 2012) (“A witness can qualify as both a fact and
                expert witness and an expert may base an opinion on fact or data in
                the case that the expert has personally observed . . . the Rules do ‘not
                distinguish between expert and lay witnesses, but rather between
                expert and lay testimony.’”) (quoting Fed.R.Evid. 701 advisory
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                committee’s note (2000 amends.)). In order to assist the jury, the
                United States proposes that the parties agree that the standard Sixth
                Circuit model jury instruction (7.03A) regarding dual witnesses
                should be provided as part of the closing jury instructions

        In particular, approximately seven probable expert witnesses from the various chemical

 companies are expected to testify as experts in the manner described above. Most also have

 personal, first-hand knowledge about facts relevant to this case. Given the technical nature of

 the alleged trade-secrets, the technical nature of defendant’s interactions with the victim

 companies, and the technical qualifications of the defendant and the witnesses with whom she

 interacted, many of the facts of this case involve complex, technical subject matter. Indeed, it is

 precisely because these witnesses were experts in the companies’ respective technology that the

 defendant interacted with them during her employment with Coca-Cola and Eastman, leading to

 their personal knowledge of facts relevant to the case. See Christian, 673 F.3d at 708-9 (6th Cir.

 2012). It is therefore difficult to distinguish between “particularized knowledge that the witness

 has by virtue of his or her position in the business,” Fed. R. Evid. 701, Advisory Committee

 Notes, and technical testimony based on the witnesses’ “knowledge, skill, experience, training or

 education . . . that will help the trier of fact to understand the evidence or to determine a fact in

 issue.” Fed. R. Evid. 702.

        Although presenting dual fact-expert witness testimony may cause problems in other

 cases, the case law indicates that all or nearly all of these problems arise in connection with law

 enforcement officers testifying in a dual role in the context of narcotics cases. See e.g. United

 States v. Lopez-Medina, 461 F.3d 724, 743 (6th Cir. 2006) (“In past cases we have permitted an

 officer’s dual testimony as a fact and expert witness when an adequate cautionary jury

 instruction was provided.”); United States v. Ham, 628 F.3d 801, 805-06 (6th Cir. 2011)

 (upholding conviction where investigator with the narcotics unit of the Knox County Sheriff’s
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 Office testified as dual witness). It may be the case that the concerns regarding dual fact-expert

 witness are limited to law enforcement officers and investigators testifying in that role. See

 United States v. Flores-De-Jesus, 569 F.3d 8, 22 (1st Cir. 2009) (“The problem is especially

 acute where the dual roles of expert and fact witness are filled by a law enforcement official, in

 part because ‘the jury may unduly credit the opinion testimony of an investigating officer based

 on a perception that the expert was privy to facts about the defendant not presented at trial.’”)

 (quoting United States v. Upton, 512 F.3d 394, 401 (7th Cir. 2008)); see also United States v.

 Thomas, 74 F.3d 676, 683 (6th Cir. 1996) (“[W]hen a police officer testifies in two different

 capacities in the same case, there is a significant risk that the jury will be confused by the

 officer’s dual role.”)9

         None of the probable-expert witnesses from the chemical companies is a law enforcement

 officer. In addition, the jury will not have much difficulty distinguishing between the fact and

 expert opinion testimony from these witnesses. Indeed, the United States expects the expert

 opinion testimony of these witnesses to be limited. For example, testimony regarding the value

 of the stolen trade secrets to a would-be competitor is clearly opinion testimony. Nor would the

 jury have trouble distinguishing between lay-fact testimony (e.g., descriptions of the defendant’s

 demands for confidential information and measures taken by the companies to protect their

 secret information) and expert-fact testimony (e.g., a description of the complex chemistry

 involved in creating a coating or reverse-engineering a coating).

         Lastly, an appropriate jury instruction will eliminate any remaining risk that the

 defendant would be unfairly prejudiced by the proposed testimony. See United States v. Barron,



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  Although such a case may exist, the United States did not locate any involving dual fact-expert
 witnesses who were not law enforcement officers or operating in an investigative role.
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 940 F.3d 903, 920 (6th Cir. 2019) (“We have recognized two primary ways to assure that the

 jury is properly informed of the dual roles: (1) by providing an adequate cautionary jury

 instruction; or (2) clear demarcation between expert and fact witness roles.”) (Internal quotations

 omitted.) Model jury instruction 7.03A is designed for this purpose.

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  Respectfully submitted this the seventh day of July 2020.

                                              J. DOUGLAS OVERBEY
                                              UNITED STATES ATTORNEY

                                              By: /s/ Timothy C. Harker
                                              Timothy C. Harker, NY Bar# 4582177
                                              Assistant United States Attorney
                                              800 Market Street, Suite 211
                                              Knoxville, Tennessee 37902
                                              (865) 545-4167
                                              Email: timothy.harker@usdoj.gov

                                              By: /s/ Nicholas O. Hunter
                                              Nicholas O. Hunter, DC Bar# 1022355
                                              Trial Attorney, National Security Division
                                              950 Pennsylvania Ave, N.W.
                                              Washington, D.C. 20530
                                              (202) 233-0986
                                              Email: nicholas.hunter@usdoj.gov

                                              By: /s/ Matthew R. Walczewski
                                              Matthew R. Walczewski (IL Bar #6297873)
                                              Senior Counsel, U.S. Department of Justice
                                              Criminal Division
                                              Computer Crime & Intellectual Property
                                              Section (CCIPS)
                                              John C. Keeney Building, Suite 600
                                              Washington, DC 20530
                                              (202) 514-1983
                                              Email: matthew.walczewski@usdoj.gov




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